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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )    Chapter 11
                                                                      )
    YELLOW CORPORATION, et al., 1                                     )    Case No. 23-11069 (CTG)
                                                                      )
                                Debtors.                              )    (Jointly Administered)
                                                                      )
                                                                      )

                                  DEBTORS’ EXHIBIT LIST
                       FOR HEARING ON JANUARY 22, 2024 AT 2:00 P.M. (ET)

             The above-captioned debtors and debtors in possession (the “Debtors”) hereby submit this

amended witness and exhibit list in connection with the hearing scheduled for January 22, 2024,

at 2:00 p.m. (ET), before the Honorable Craig T. Goldblatt, at the United States Bankruptcy Court

for the District of Delaware, located at 824 N. Market Street, 3rd Floor, Courtroom No. 7,

Wilmington, Delaware 19801 (the “Hearing”), at which time the following lift-stay motions

(the “Lift Stay Motions”) are currently scheduled to be heard:2

             1. Motion of Lawrence Nowicki, for Relief from the Automatic Stay Pursuant to 11 U.S.C.
                § 362(d) of the Bankruptcy Code [Docket No. 659];
             2. Motion of Jimmie and Janel Hubert for relief from the Automatic Stay Pursuant to
                11 U.S.C. §362 (D) [Docket No. 758];
             3. Motion of Donna Lee Daugherty for Order Pursuant to Section 362(d) of the
                Bankruptcy Code, Bankruptcy Rule 4001 and Local Bankruptcy Rule 4001-1 Modifying
                the Automatic Stay to Allow continuation of Wrongful Death Litigation [Docket
                No. 770];
             4. Motion of Anthony Martino for Orders Granting Relief from the Automatic Stay
                [Docket No. 789];



1            A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
             Debtors’ claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the
             Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500
             Outlook Street, Suite 400, Overland Park, Kansas 66211.

2            The Debtors have asked many lift stay movants to continue their motions and many have agreed to do so.
             Others may also agree between the filing of this pleading and the hearing on January 22, 2024.

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         5. Motion of Jason E. Ellis, for Relief from the Automatic Stay Pursuant to 11 U.S.C.
            § 362(d) of the Bankruptcy Code [Docket No. 829];
         6. Jose Emilio Ronderos’s Motion for Relief from the Automatic Stay [Docket No. 877];
         7. Sopia L. Goodman’s Motion for Relief from the Automatic Stay [Docket No. 879];
         8. Motion of James Alexander and Lisa Alexander for Relief from the Automatic Stay
            [Docket No. 903];
         9. Motion of Seung Chung for Order Granting Relief from the Automatic Stay [Docket
            No. 984];
         10. Motion of Ahmed Elsamady for Relief from the Automatic Stay Pursuant to 11 U.S.C.
             § 362(d) of the Bankruptcy Code [Docket No. 1028];
         11. Motion Phillip B. Deterding’s Motion for Relief from the Automatic Stay [Docket
             No. 1037];

         12. Motion of Derek Hall for Relief from the Automatic Stay to the Extent of Liability
             Insurance [Docket No. 1118];

         13. Paul Edward Fowler’s Motion for Relief from the Automatic Stay [Docket No. 1169];
         14. Tariq Osman’s Motion for Relief from the Automatic Stay [Docket No. 1622]; and

         15. Alejandro Vizcaino’s Motion for relief from Automatic Stay Under 11 USC § 362(d);
             Memorandum of Points and Authorities [Docket No. 1661].

                                              WITNESSES

         No witnesses have been designated by any other party, and the Debtors do not intend to

call witnesses at the Hearing.

                                              EXHIBITS

         The Debtors designate the following exhibits that may be used at the Hearing in connection

with the Lift Stay Motions:

 Exhibit No.         Document Description                                    Docket No.

 1.                  ORIC Objections to Lift Stay Motions                    823

 2.                  ORIC Supplemental Objection to Lift Stay Motions        1106

 3.                  10/27/23 ORIC Coverage Letter in Nowicki                -




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 Exhibit No.         Document Description                                      Docket No.

                     ORIC Motor Carrier’s Indemnity Policy in Effect on        -
 4.
                     Date of Injury in Nowicki

                     ORIC Program Agreement in Effect on Date of Injury        -
 5.
                     in Nowicki

 6.                  MCS-90s in Effect on Date of Injury in Nowicki            -

 7.                  Final Insurance Order                                     523

 8.                  10/27/23 ORIC Coverage Letter in Hubert                   -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on        -
 9.
                     Date of Injury in Hubert

 10.                 MCS-90s in Effect on Date of Injury in Hubert             -

 11.                 11/1/23 ORIC Coverage Letter in Daugherty                 -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on        -
 12.
                     Date of Injury in Daugherty

 13.                 MCS-90s in Effect on Date of Injury in Daugherty          -

                     ORIC Motor Carrier’s Indemnity Policies in Effect on      -
 14.
                     Date of Injury in Martino

 15.                 MCS-90s in Effect on Date of Injury in Martino            -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on        -
 16.
                     Date of Injury in Ellis, Goodman, Osman

 17.                 MCS-90s in Effect on Date of Injury in Ellis, Goodman     -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on        -
 18.
                     Date of Injury in Ronderos, Vizcaino

                     AIG EPL Policy in Effect on Date of Injury in             -
 19.
                     Ronderos, Vizcaino

 20.                 11/27/23 ORIC Coverage Letter in Goodman                  -

 21.                 11/27/23 ORIC Coverage Letter in Alexander                -




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 Exhibit No.         Document Description                                    Docket No.

                     ORIC Motor Carrier’s Indemnity Policy in Effect on      -
 22.
                     Date of Injury in Alexander

 23.                 MCS-90s in Effect on Date of Injury in Alexander        -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on      -
 24.
                     Date of Injury in Chung

 25.                 MCS-90s in Effect on Date of Injury in Chung            -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on      -
 26.
                     Date of Injury in Fowler

 27.                 MCS-90s in Effect on Date of Injury in Fowler           -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on      -
 28.
                     Date of Injury in Elsamady

 29.                 MCS-90s in Effect on Date of Injury in Elsamady         -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on      -
 30.
                     Date of Injury in Deterding

 31.                 MCS-90s in Effect on Date of Injury in Deterding        -

 32.                 12/8/23 ORIC Coverage Letter in Deterding

                     ORIC Motor Carrier’s Indemnity Policy in Effect on      -
 33.
                     Date of Injury in Hall

 34.                 MCS-90s in Effect on Date of Injury in Hall             -

                     ORIC Motor Carrier’s Indemnity Policy in Effect on      -
 35.
                     Date of Injury in Vizcaino


         No other party has identified any exhibits or witnesses in connection with the Lift Stay

Motions. The Debtors reserve the right to object to the entry into evidence of any exhibit, including

those listed above. The Debtors also reserve the right to amend, shorten, or supplement this

witness and exhibit list prior to the Hearing.




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Dated: January 18, 2024
Wilmington, Delaware

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